                   Case: 1:17-cv-04699 Document #: 12 Filed: 08/21/17 Page 1 of 2 PageID #:33
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
Ezra Hill

                                                                 CASE NUMBER:       17-cv-04699
                                V.                               ASSIGNED JUDGE:
                                                                                    Charles P. Kocoras
 City of Harvey, Cook County, Illinois,                          DESIGNATED
 Gregory Thomas, Deputy Police Chief                             MAGISTRATE JUDGE: Michael T. Mason
 Jason Banks and Liam Reardon


                    TO: (Name and address of Defendant)
       Jason Banks
       15301 Dixie Highway
       Harvey, IL



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Paul K.Vickrey
                 Vitale, Vickrey, Niro & Gasey
                 311 S. Wacker Drive, Suite 2470
                 Chicago, IL 60606


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                    June 23, 2017
     (By) DEPUTY CLERK                                                              DATE
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